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          EXHIBIT "C"
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                       IN THE STATE COURT OF CHATHAM COUNTY
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                                                                                        - M110: 7
 GRACIE F. SCOTT
                                                                                   s
                 Plaintiff,

 V   .                                                     CIVIL FILE NO. STCV1501572

 BELK, INC.,

                 Defendant.


                         DEFENDANT'S ANSWER AND AFFIRMATIVE
                          DEFENSES TO PLAINTIFF'S COMPLAINT

          COMES NOW Defendant BELK, INC., and hereby files this its Answer and Affirmative

 Defenses to Plaintiff's Complaint as follows:

                                         FIRST DEFENSE

          No act or omission of this Defendant either proximately caused or contributed to

whatever damages the Plaintiff may have sustained, and on account thereof, Plaintiff is not

entitled to recover any sum of this Defendant.

                                       SECOND DEFENSE

           At all times, Defendant exercised a duty of care required by it under law; therefore,

Plaintiff may not recover from this Defendant in any sum or manner whatsoever.

                                        TIllED DEFENSE

          The occurrence complained of was caused, produced, and brought about directly and

proximately by the negligence of Plaintiff, and on account thereof, Plaintiff is not entitled to

recover any sum of this Defendant.




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                                       FOURTH DEFENSE

         Plaintiff could and should have avoided the consequences of any alleged injuries she

 sustained in the incident described in her Complaint; therefore, Defendant has no liability to

 Plaintiff.

                                         FDTH DEFENSE

        Plaintiff, by the exercise of ordinary care, could have avoided being injured, and on

account thereof, Plaintiff is not entitled to recover any sum of this Defendant.

                                         SIXTH DEFENSE

         Plaintiff herself may have had equal knowledge of the alleged hazard described in her

 Complaint to that of the Defendants; therefore, Plaintiffs claims are barred under Georgia law.

                                      SEVENTH DEFENSE

         If Defendant was negligent, and Defendant expressly denies that it was negligent in any

 maimer whatsoever, Plaintiff's own negligence may have equaled or surpassed any assumed

 negligence on the part of the Defendant; therefore, Plaintiff cannot recover from this Defendant

 in any sum or manner.

                                       EIGHTH DEFENSE

        Plaintiff has failed to mitigate her damages and therefore cannot recover against the

Defendant.

                                        NINTH DEFENSE

        Plaintiff is not the real party in interest with regards to the items of damages outlined in

the Complaint, and can therefore not recover for same.

                                       TENTH DEFENSE

       Plaintiffs claim for attorney's fees and expenses pursuant to O.C.G.A. § 13-6-11 is

factually and legally without merit and should be dismissed.
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                                   ELEVENTH DEFENSE

       Without waiving any of the above defenses and subject to the above affirmative defenses,

this Defendant responds to the individually numbered paragraphs of Plaintiff's Complaint

answers as follows:

                                                I.

       Defendant does not possess sufficient information or knowledge to form abelief as to the

truth of the allegations contained in Paragraph I of Plaintiffs Complaint, and can therefore

neither admit nor deny same.

                                               2.

       This Defendant admits that Belk, Inc. operates a Belk department store located at 7804

Abercorn Street, Suite 62, Savannah, Georgia, that its registered agent for service has been

property identified by Plaintiff, and that venue is proper in Chatham County. This Belk

department store is retail establishment selling goods to the general public. This Defendant

denies the balance of the remaining allegations contained in Paragraph 2 of Plaintiffs

Complaint.

                                               3.

       This Defendant admits that Belk, Inc. operates a Belk department store located at 7804

Abercorn Street, Suite 62, Savannah, Georgia. This Defendant denies the balance of the

remaining allegations contained in Paragraph 3 of Plaintiffs Complaint.

                                               4.

       Defendant admits the allegations contained in Paragraph 4 of Plaintiff's Complaint.

                                               5.

      Defendant admits the allegations contained in Paragraph 5 ofPlaintiffs Complaint.


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                                                    ri
           Defendant does not possess sufficient information or knowledge to form a belief as to the

truth of the allegations contained in Paragraph 6 of Plaintiff's Complaint, and can therefore

neither admit nor deny same.

                                                    7.

           This Defendant denies that it breached a duty owed to Plaintiff. Defendant does not

possess sufficient information or knowledge to form a belief as to the truth of the remaining

allegations contained in Paragraph 6 of Plaintiff's Complaint, and can therefore neither admit nor

deny same.

                                                    8.

          Defendant denies the allegations contained in Paragraph 8 of Plaintiff's Complaint.

                                                    9.

          Defendant denies the allegations contained in Paragraph 9 of Plaintiff's Complaint,

                                                   10.

          Defendant denies the allegations contained in Paragraph 10 of Plaintiff's Complaint.

                                                   11.

          Defendant denies the allegations contained in Paragraph 11 of Plaintiff's Complaint.

                                                   12.

          Defendant denies the allegations contained in Paragraph 12 of Plaintiff's Complaint.

                                                   13.

          Defendant denies the allegations contained in Paragraph 13 of Plaintiff's Complaint.

                                                   14.

          Defendant denies the allegations contained in Paragraph 14 of Plaintiff's Complaint as

stated.
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                                                  15.

        Defendant denies the allegations contained in Paragraph 15 of Plaintiff's Complaint,

including subparagraphs (a) through (d).

                                                  16.

         Defendant denies the allegations contained in Paragraph 16 of Plaintiffs Complaint.

                                                  17.

        Defendant denies the allegations contained in Paragraph 17 of Plaintiffs Complaint.

                                                  18.

        Defendant denies the allegations contained in Paragraph 18 of Plaintiff's Complaint.

                                                 iij

        Defendant denies the allegations contained in Paragraph 19 of Plaintiff's Complaint.

                                       TWELTH DEFENSE

        Defendant denies the last numbered paragraph in Plaintiffs Complaint including sub-

 paragraphs (a) through (e).

        Each and every allegation contained in Plaintiffs Complaint not specifically addressed

above is hereby expressly denied.

       WHEREFORE, Defendant having fully answered the Plaintiffs Complaint prays that it

hence be discharged of the Plaintiffs Complaint on all the aforesaid defenses, and that judgment

be entered in favor of this Defendant and against the Plaintiff, with all costs cast upon the

Plaintiff. Defendants prays that:

       (a)     Plaintiff's Complaint be dismissed;

       (1,)    That Defendants have a jury of 12 for a trial of this case; and

       (c)     Any further relief this Court deems as proper.


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                                   fh
      Respectfully submitted this day of October, 2015.


                                         SWLFT, CURRIE, McGUEE & HIERS, LLP


                                        By:

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                                                     orgia State Bar No. 198981
                                                  Jennifer L. Nichols
                                                  Georgia State Bar No. 001294
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                               CERTIFICATE OF SERVICE

         I hereby certify that I have this day served a copy of the within and foregoing

Defendant's Answer and Affirmative Defenses to Plaintiff's Complaint             via U.S. Mail,

addressed as follows:

                                      H. Craig Stafford, Esq.
                                      Jeffery L. Arnold, Esq.
                                     Andrew S. Johnson, Esq.
                                    ARNOLD & STAFFORD
                                        Post Office Box 339
                                    llinesvillc, Georgia 31310

             R
        This !1day of

                                            SWIFT, CURRIE, McGEEE & HIERS, LU'



                                                   1 Paznela     st4n Lee
                                                ,/ Georgia State Bar No. 198981
                                              '     Jennifer L. Nichols
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